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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              06-cr-174-bbc
             v.

GREGORY J. BURKS,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              06-cr-117-bbc
             v.

TIMOTHY HURNS,

                           Defendant.


- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                              ORDER
                           Plaintiff,
                                                              07-cr-18-bbc
             v.

TODD TEMPLETON,

                           Defendant.


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       In orders entered on November 6, 2008, I granted the government’s motion for

postponement of the hearings scheduled in these cases after the Court of Appeals for the

Seventh Circuit remanded them for re-sentencing in light of Begay v. United States, 128 S.

Ct. 1581 (2008). The government based the motions on the possibility that the Supreme

Court’s decision in United States v. Chambers, 473 F.3d 724 (7th Cir. 2007), a case in

which it granted certiorari on April 21, 2008.

       Defendants object to the postponements. They argue that this court should follow

the lead of the court of appeals, which declined to wait for the Supreme Court to decide

Chambers before disposing of the many pending appeals raising the Begay issue.

       I am not persuaded that there is any reason to proceed with the re-sentencings before

Chambers is decided. It is highly unlikely that any of the defendants would be eligible for

release from custody before the Supreme Court acts on Chambers, even if they were to be

re-sentenced now. Moreover, all of the defendants would be within their rights to appear

in person for re-sentencing, requiring the government to expend resources to bring them to

Madison from the correctional institutions in which they are housed. This expenditure




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would be wasted if the Chambers decision were to mandate a second re-sentencing.


                                   ORDER

      IT IS ORDERED that the November 6, 2008 order postponing the re-sentencings in

these cases until after the United States Supreme Court has issued a decision in United

States v. Chambers, is CONFIRMED over defendants’ objections.



      Entered this 10th day of November, 2008.

                                        BY THE COURT:
                                        /s/
                                        BARBARA B. CRABB
                                        District Judge




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